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B 2100A (Form 2100A) (12/15)

UNITED STATES BANKRUPTCY COURT

Eastern District of Louisiana

Inre Sheryl Holmes Denis ; Case No. _15-12995

 

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111 (a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

 

 

U.S. Bank Trust National Association as Trustee Federal National Mortgage Association
of Chalet Series III Trust
Name of Transferee Name of Transferor
Name and Address where notices to transferee Court Claim # (if known): 7-1
should be sent: Amount of Claim: $118,765.77
c/o SN Servicing Corporation Date Claim Filed: 03/14/2016

323 Fifth Street
Eureka, CA 95501

Phone: 800-603-0836 Phone:
Last Four Digits of Acct#: 8871 Last Four Digits of Acct. #: _ 6036

 

 

Name and Address where transferee payments
should be sent (if different from above):

Phone:
Last Four Digits of Acct #:

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ D. Anthony Sottile Date: 01/22/2019
Transferee/Transferee’s Agent

 

 

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
